Case 2:05-cv-02406-BBD-dkv Document 4 Filed 06/30/05 Page 1 of 2 Page|D 1

 

ev
IN THE UNITED sTATEs DISTRICT CoURT "§g~ D-°~
FoR THE WESTERN DISTRICT 0F TENNESSEE 05 JU~ 30 m _
WESTERN DleSION 2‘ ‘* l
MWGALD
€TPK‘I'OO{RT
JAMES sULLIvAN WfD OF \ w»wa£g
Plaintiff,
v. No. 05-2406 Dv

BOYD GAMING CORPORATION, et al.,

Defendants.

 

Order Granting Extension

 

Before this Court is Defendant Mississippi Gaming Commission Agent Pat Hawkins’ Motion
for an Extension of Time in Which to move against or answer the Complaint. The 20-day extension
is not opposed by Plaintiff. This Court finds that the Motion is Well taken and should be granted.

It is hereby ORDERED that Defendant Pat Hawkins shall serve his Motion or Answer on or
before July 21, 2005.

30“‘"
ordered this the,zs“'day OfJune, 2005.

dam K @@0/%/

UNITED S'I`ATES MAGISTRATE JUDGE

llil‘ S d
ocument entered on the docket she ti
e ncom

wm Fiule 58 and/or 79 n
(a) FHCP en 12 179er ama

l ISTRIC COURT - ESTERN ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02406 Was distributed by faX, mail, or direct printing on
July l, 2005 to the parties listed.

 

 

Craig V. Morton
MORTON & GERMANY
200 Jefferson Ave.

Ste. 725

l\/lemphis7 TN 38103

Deanne Brodrick Saltzrnan

l\/HSSISSIPPI OFFICE OF THE ATTORNEY GENERAL
P.O. Box 23577

Jackson, MS 39225--3 57

Honorable Bernice Donald
US DISTRICT COURT

